           Case 1:21-cv-06406-LGS Document 21 Filed 11/02/21 Page 1 of 1

THE WEITZ LAW FIRM, P.A.
                                                                            Bank of America Building
                                                                       18305 Biscayne Blvd., Suite 214
                                                                              Aventura, Florida 33160

                                   Application GRANTED. The initial conference scheduled for
November 1, 2021                   November 4, 2021 is ADJOURNED to December 2, 2021 at 10:40 a.m.
                                   The conference will be telephonic and will occur on the following
VIA CM/ECF                         conference line: 888-363-4749, access code: 5583333. The time of
Honorable Judge Lorna G. Schofield the conference is approximate, but the parties shall be prepared to
United States District Court       begin at the scheduled time.
Southern District of New York
40 Foley Square - Courtroom 1106   Dated: November 1, 2021
New York, NY 10007                         New York, New York
                        Re:   Keung v. Relax Station Inc., et al.
                              Case 1:21-cv-06406-LGS

Dear Judge Schofield:

        The undersigned represents the Plaintiff in the above-captioned case matter. The Initial
Pretrial Conference in this matter is currently scheduled for November 4, 2021, at 10:40 a.m., in your
Honor's Courtroom. Unfortunately, none of the Defendants have yet t o appear and/or answer in
this matter, though served through the Secretary of State [D.E. 13, D.E. 14, D.E. 15 & D.E. 16].

       The undersigned counsel has undertaken additional efforts including follow-up courier
correspondence with a copy of the Summons and Complaint to the subject facility location, and
likewise Federal Express correspondence to a corporate address in order to facilitate contact from
defendants.

        In order to allow the parties adequate time to engage in early settlement discussions, while
affording additional time for the defendants to appear, a 30-day adjournment of the Conference is
hereby respectfully requested to a date most convenient to this Honorable Court.

       Thank you for your consideration of this second adjournment request.

                                             Sincerely,

                                             By: /S/ B. Bradley Weitz          .
                                                B. Bradley Weitz, Esq. (BW9365)
                                                THE WEITZ LAW FIRM, P.A.
                                                Attorney for Plaintiff
                                                Bank of America Building
                                                18305 Biscayne Blvd., Suite 214
                                                Aventura, Florida 33160
                                                Telephone: (305) 949-7777
                                                Facsimile: (305) 704-3877
                                                Email: bbw@weitzfirm.com
